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               EXHIBIT 1
Case:
  Case1:20-cv-04577
        4:24-mc-01163
                    Document
                       Document
                             #: 338
                                 1-2Filed:
                                      Filed05/30/24
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Mish International Monetary Inc.
                                         Plaintiff,
v.                                                         Case No.: 1:20−cv−04577
                                                           Honorable Manish S. Shah
Vega Capital London, Ltd., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 30, 2024:


        MINUTE entry before the Honorable Manish S. Shah: Telephone status hearing
held. For the reasons stated in open court, the motions to remove confidentiality
designations from deposition transcript [331] and for leave to file under seal [334] are
granted. By 7/9/24, Vitol and Glencore must produce documents to Vega Capital London,
Ltd. as follows: 1) documents sufficient to show their understanding of storage at Cushing
for the May WTI contract as of April 20, 2020; 2) documents sufficient to show whether
and when they thought the price for the May WTI contract would go negative; and 3)
documents sufficient to show their communications with CME, the New York Mercantile
Exchange, or the Intercontinental Exchange about the May 2020 WTI contract, limited to
notices received from those entities, their responses to those entities, and correspondence
with those entities about the April 20, 2020 and April 21, 2020 trading in the May 2020
WTI contract. Notices Mailed. (psm, )




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